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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 FACTOR2 MULTIMEDIA SYSTEMS, LLC,
 Plaintiff                                                Case No. 6:24-CV-00362-XR
         v.

 EARLY WARNING SYSTEMS, LLC, et al.,
 Defendant


                 PLAINTIFF’S ADVISORY TO THE CLERK OF COURT

       Plaintiff in the above-captioned case elects as follows (please select only one of the
following options):
        ☒    I consent to proceed before a United States Magistrate Judge in accordance with
             provisions of Title 28 U.S.C. Section 636. Plaintiff in the above-captioned case
             waives the right to proceed before a United States District Judge and consents to
             have a United States Magistrate Judge conduct any and all further proceedings in
             this case, including rendering a decision, and to order the entry of final judgment.
             Any appeal shall be taken to the United States Court of Appeals for the Fifth
             Circuit in accordance with Title 28 U.S.C. Section 636(c)(3).


        ☐    I do not consent to proceed before a United States Magistrate Judge. Plaintiff in
             the above-captioned case elects not to have this case decided by a United States
             Magistrate Judge and prefers that this case proceed before the United States
             District Judge.


    Factor 2 Multimedia Systems, LLC           .
       Plaintiff’s Name

 Dated: December 11, 2024                          Respectfully submitted,

                                                      /s/ Benjamin C. Deming                    .
                                                   Benjamin C. Deming
                                                   DNL ZITO
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                                Factor2 Multimedia Systems, LLC
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the above and foregoing

document has been served on all parties via the Court’s CM/ECF system on December 11, 2024.




                                                     /s/ Benjamin C. Deming                .
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